






Opinion issued September 11, 2003 


	





				 








In The

Court of Appeals

For The

First District of Texas

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NO. 01-03-00839-CV

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IN RE DERRYL RAY WOOD, Relator






Original Proceeding on Petition for Writ of Mandamus






MEMORANDUM  OPINION


	Relator, Derryl Ray Wood, filed a petition for writ of mandamus
complaining that respondent (1) has not ruled on his pro se pretrial motion for speedy
trial in cause number 940473.  We deny relief.

	"Mandamus will not issue where there is a clear and adequate remedy at
law, such as a normal appeal."  Walker v. Packer, 827 S.W.2d 833, 840 (Tex. 1992). 
The question of whether a defendant's right to a speedy trial was violated is directly
appealable after conviction.  See Zamorano v. State, 84 S.W.3d 643 (Tex. Crim. App.
2002) (conviction reversed on speedy trial grounds).  In Smith v. Gohmert, 962
S.W.2d 590, 592-93 (Tex. Crim. App. 1998), the Texas Court of Criminal Appeals
denied mandamus relief, holding that the relator had an adequate remedy at law on
his speedy trial claims.

	Accordingly, we hold that because relator may raise the issue of whether his
right to a speedy trial was violated in a direct appeal in the event of conviction, he is
ineligible for mandamus relief.  The petition is therefore denied.

PER CURIAM

Panel consists of Justices Hedges, Nuchia, and Keyes.
1.    	Respondent is the Honorable Denise Collins, Judge, 208th District Court,
Harris County.


